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            EXHIBIT A
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                            No. 19-648

        In the Supreme Court of the United States
            CACI PREMIER TECHNOLOGY, INC., PETITIONER
                                v.
             SUHAIL NAJIM ABDULLA AL SHIMARI, ET AL.


                ON PETITION FOR A WRIT OF CERTIORARI
               TO THE UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT



          BRIEF FOR THE UNITED STATES AS AMICUS CURIAE


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                       QUESTION PRESENTED
           Whether the collateral-order doctrine permits im-
        mediate appeal from the denial of a motion to dismiss
        on the basis of the so-called “derivative sovereign im-
        munity” defense.




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       In the Supreme Court of the United States
                               No. 19-648
            CACI PREMIER TECHNOLOGY, INC., PETITIONER
                                    v.
              SUHAIL NAJIM ABDULLA AL SHIMARI, ET AL.


                 ON PETITION FOR A WRIT OF CERTIORARI
                TO THE UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT



          BRIEF FOR THE UNITED STATES AS AMICUS CURIAE


           This brief is submitted in response to the Court’s or-
        der inviting the Solicitor General to express the views
        of the United States. In the view of the United States,
        the petition for a writ of certiorari should be held pend-
        ing the Court’s disposition of Nestlé USA, Inc. v. Doe,
        cert. granted, No. 19-416 (July 2, 2020), and Cargill,
        Inc. v. Doe, cert. granted, No. 19-453 (July 2, 2020). If
        the Court’s decisions in Nestlé and Cargill do not effec-
        tively eliminate respondents’ substantive claims in this
        case, the Court should then grant the petition for a writ
        of certiorari.
                              STATEMENT
           1. Following the 2003 invasion of Iraq, the United
        States military used the Abu Ghraib prison outside
        Baghdad to detain criminals and others held for inter-
        rogation. Pet. App. 13a-14a. Petitioner CACI Premier
        Technology, Inc. contracted with the United States to

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        provide civilian interrogators who worked alongside
        U.S. military personnel at the prison.
            A later military investigation concluded that “shame-
        ful events occurred at the detention facility of Abu
        Ghraib” and “identified forty-four incidents of detainee
        abuse.” Lt. Gen. Anthony R. Jones, Army Reg. 15-6 In-
        vestigation of the Abu Ghraib Prison and 205th Mili-
        tary Intelligence Brigade 15 (2004). Investigators iden-
        tified instances of abuses involving both military per-
        sonnel and CACI interrogators. Pet. App. 40a.
            2. Respondents are Iraqi nationals who allege they
        were abused while detained at Abu Ghraib prison. Pet.
        App. 12a. They brought this suit against CACI under
        the Alien Tort Statute, 28 U.S.C. 1350, and various
        common-law theories. Pet. App. 12a. Respondents’
        only remaining claims purportedly arise under the Al-
        ien Tort Statute and allege that CACI’s employees con-
        spired with, or aided and abetted, military personnel
        who abused respondents. Pet. 4-5.
            After numerous dispositive motions and several
        appeals—the details of which are not relevant to the
        present petition—CACI filed a third-party complaint
        against the United States, in which CACI asserted that
        the United States would be liable for any damages
        CACI might ultimately be ordered to pay to respond-
        ents. Pet. App. 277a-279a. The government moved to
        dismiss CACI’s third-party claims as barred by sover-
        eign immunity, and also sought summary judgment on
        the ground that CACI’s third-party claims were barred
        by a settlement agreement CACI had entered with the
        government. Id. at 279a-280a.
            CACI, in turn, moved to dismiss respondents’ claims
        under a doctrine sometimes referred to as “derivative
        sovereign immunity.” Pet. App. 339a-340a. The Fourth
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        Circuit has articulated that doctrine as establishing that
        “a government contractor is not subject to suit if (1) the
        government authorized the contractor’s actions and
        (2) the government ‘validly conferred’ that authoriza-
        tion, meaning it acted within its constitutional power.”
        Cunningham v. General Dynamics Info. Tech., Inc.,
        888 F.3d 640, 646 (citation omitted), cert. denied, 139
        S. Ct. 417 (2018); see Pet. App. 340a.
           3. The district court denied the government’s mo-
        tion to dismiss CACI’s tort-based claims, holding that
        “the United States does not retain sovereign immunity
        for violations of jus cogens norms of international law.”
        Pet. App. 335a. To reach that result, it first rejected the
        government’s argument that a waiver of sovereign im-
        munity must be express, holding that “no such categor-
        ical rule exists” and that “the government may also
        waive its immunity impliedly through its conduct.” Id.
        at 301a n.6. It then held that the United States had im-
        pliedly waived its immunity to claims alleging violations
        of jus cogens norms in a variety of ways, including “by
        joining the community of nations and accepting the law
        of nations”; “ratifying the Convention Against Torture
        and assuring the Committee Against Torture that an
        adequate civil remedy exists for [victims of torture]”;
        and “participating in the Nuremberg trials and the par-
        allel development of peremptory norms of international
        law.” Id. at 317a-318a, 321a, 328a.
           Having denied the government’s motion to dismiss
        on sovereign-immunity grounds, the district court also
        denied CACI’s assertion of “derivative sovereign im-
        munity.” The court reasoned that “derivative sovereign
        immunity” is only available if “the United States would
        be immune from suit” on the same claims, and that it
        accordingly was not available here, where the court had
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        already ruled “that sovereign immunity does not pro-
        tect the United States from claims for violations of jus
        cogens norms.” Pet. App. 340a. The court went on to
        observe that, “[e]ven if * * * sovereign immunity pro-
        tected the United States from suit, it is not at all clear
        that CACI would be extended the same immunity.”
        Ibid. That is true, the court explained, because “deriv-
        ative immunity * * * is not awarded to government con-
        tractors who violate the law or the contract.” Id. at
        340a-341a. Thus, CACI would not be entitled to deriv-
        ative immunity if it “conspired with and aided and abet-
        ted military personnel in committing acts of torture,
        [cruel, inhuman, or degrading treatment], and war
        crimes”—conduct that would have violated “the U.S.
        Code and international regulations.” Id. at 341a. “Re-
        gardless” of whether there was sufficient evidence of
        such actions, though, the court held that “CACI’s Mo-
        tion to Dismiss fails because the United States does not
        enjoy sovereign immunity for these kinds of claims.”
        Id. at 342a.
           Although the court denied the government’s motion
        to dismiss CACI’s tort-based claims, it granted sum-
        mary judgment in favor of the government on the
        ground that CACI’s third-party tort claims were barred
        by the settlement agreement between CACI and the
        government. Pet. App. 347a-348a. Accordingly, the
        government is no longer a party to this litigation.
           4. CACI filed an interlocutory appeal from the dis-
        trict court’s denial of its motion to dismiss. The court of
        appeals dismissed the appeal for lack of jurisdiction.
        Pet. App. 4a-5a.
           The panel majority explained that, in a prior en banc
        decision in this case, the Fourth Circuit had observed
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        “that ‘fully developed rulings’ denying ‘sovereign im-
        munity (or derivative claims thereof ) may not’ be imme-
        diately appealable.” Pet. App. 4a (quoting 679 F.3d 205,
        211 n.3). And the majority reasoned that, “even if a de-
        nial of derivative sovereign immunity may be immedi-
        ately appealable,” CACI cannot obtain interlocutory re-
        view “because there remain continuing disputes of ma-
        terial fact with respect to [its] derivative sovereign im-
        munity defenses”—namely disputes as to “whether
        CACI violated the law or its contract.” Id. at 4a-5a. The
        majority therefore concluded that CACI’s appeal did
        not “turn on an abstract question of law” and accord-
        ingly was “not properly before” the court. Id. at 5a.
           Judge Quattlebaum concurred in the judgment. Pet.
        App. 6a-7a.
                              DISCUSSION
           The court of appeals correctly determined that it
        lacked jurisdiction to hear CACI’s interlocutory appeal
        in this case, though its reasoning was incorrect. Be-
        cause the district court’s decision rested solely on a
        pure, and erroneous, conclusion of law (that the United
        States has waived its sovereign immunity from suits al-
        leging violations of jus cogens norms), no disputed issue
        of fact prevented the court of appeals from exercising
        jurisdiction. Nevertheless, the court of appeals did lack
        jurisdiction, because the so-called “derivative sovereign
        immunity” doctrine CACI is asserting does not afford a
        genuine immunity from suit, as distinct from a defense
        to liability on the merits. Pre-trial orders rejecting an
        assertion of the doctrine thus are not immediately ap-
        pealable under the collateral-order doctrine.
           Although the decision below reached the correct re-
        sult, the question presented warrants this Court’s re-
        view. There is tension in the lower courts’ approaches
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        to applying the collateral-order doctrine in the context
        of orders denying federal contractor defenses like the
        one at issue here, and the courts of appeals also are di-
        vided about the nature of the “derivative sovereign im-
        munity” doctrine. Rather than granting the petition for
        a writ of certiorari immediately, however, the Court
        should hold the petition pending its decisions in Nestlé
        USA, Inc. v. Doe, cert. granted, No. 19-416 (July 2,
        2020), and Cargill, Inc. v. Doe, cert. granted, No. 19-453
        (July 2, 2020). Those decisions may effectively foreclose
        respondents’ underlying substantive claims. If they do
        not, the Court should grant the petition for a writ of cer-
        tiorari and affirm.
           A. The Court Of Appeals Correctly Determined That It
              Lacked Jurisdiction Over Petitioner’s Interlocutory
              Appeal
           1. “Finality as a condition of review is an historic
        characteristic of federal appellate procedure,” dating to
        the first Judiciary Act, ch. 20, §§ 21-22, 25, 1 Stat. 83-87
        (1789). Cobbledick v. United States, 309 U.S. 323, 324
        (1940). The finality requirement is now codified in 28
        U.S.C. 1291, which provides that the courts of appeals
        “shall have jurisdiction of appeals from all final deci-
        sions of the district courts of the United States, * * *
        except where a direct review may be had in the Su-
        preme Court.” Ibid. “A ‘final decision’ generally is one
        which ends the litigation on the merits and leaves noth-
        ing for the court to do but execute the judgment.” Cat-
        lin v. United States, 324 U.S. 229, 233 (1945).
           This Court has “long given” Section 1291 a “practical
        rather than a technical construction.” Cohen v. Benefi-
        cial Indus. Loan Corp., 337 U.S. 541, 546 (1949). It has
        held that “the statute entitles a party to appeal * * *
        from a narrow class of decisions that do not terminate
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        the litigation, but must, in the interest of achieving a
        healthy legal system, nonetheless be treated as ‘final.’ ”
        Digital Equip. Corp. v. Desktop Direct, Inc., 511 U.S.
        863, 867 (1994) (citations and some internal quotation
        marks omitted). That “small class” encompasses deci-
        sions that “finally determine claims of right separable
        from, and collateral to, rights asserted in the action.”
        Cohen, 337 U.S. at 546.
           The Court has applied a three-part test to determine
        whether a “category” of orders is immediately appeala-
        ble under the collateral-order doctrine. Mohawk In-
        dus., Inc. v. Carpenter, 558 U.S. 100, 107 (2009) (citation
        omitted); see Van Cauwenberghe v. Biard, 486 U.S. 517,
        529 (1988) (“In fashioning a rule of appealability under
        § 1291, * * * we look to categories of cases, not to par-
        ticular injustices.”). To be immediately appealable, an
        order that does not terminate the litigation must
        “[1] conclusively determine the disputed question,
        [2] resolve an important issue completely separate from
        the merits of the action, and [3] be effectively unreview-
        able on appeal from a final judgment.” Will v. Hallock,
        546 U.S. 345, 349 (2006) (citations omitted; brackets in
        original).
           The Court has stressed that the collateral-order doc-
        trine “must ‘never be allowed to swallow the general
        rule that a party is entitled to a single appeal, to be de-
        ferred until final judgment has been entered.’ ” Mo-
        hawk Indus., 558 U.S. at 106 (quoting Digital Equip.,
        511 U.S. at 868). Accordingly, the Court has recognized
        only a small number of types of orders as immediately
        appealable under the collateral-order doctrine. They
        include, for example, orders denying absolute immun-
        ity, Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982); deny-
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        ing Eleventh Amendment immunity, Puerto Rico Aque-
        duct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S.
        139, 144-147 (1993); and denying qualified immunity on
        legal grounds, Mitchell v. Forsyth, 472 U.S. 511, 530
        (1985); as well as, among others, orders rejecting a
        double-jeopardy defense to retrial, Abney v. United
        States, 431 U.S. 651, 656-662 (1977). In each such case,
        the Court has emphasized, “ ‘the essence’ of the claimed
        right” has been more than a defense against liability; it
        has been “a right not to stand trial” in the first place.
        Van Cauwenberghe, 486 U.S. at 524 (quoting Mitchell,
        472 U.S. at 525).
            2. Under the foregoing principles, the court of ap-
        peals lacked jurisdiction to hear CACI’s interlocutory
        appeal.
            CACI claims that the court of appeals’ decision con-
        flicts with this Court’s holdings “that orders denying
        absolute immunity, qualified immunity, and Eleventh
        Amendment immunity are all immediately appealable.”
        Pet. 1-2. It asserts that, like those doctrines, the so-
        called “derivative sovereign immunity” doctrine sup-
        plies an “immunity from suit.” Id. at 11-12.
            Despite often being referred to as derivative sover-
        eign “immunity,” however, the doctrine that CACI in-
        vokes is not genuinely an immunity at all; it is merely a
        defense to liability. Orders rejecting a “derivative sov-
        ereign immunity” defense, even on purely legal grounds,
        therefore do not satisfy the effective-unreviewability
        requirement of the collateral-order doctrine. And be-
        cause the “derivative sovereign immunity” defense re-
        quires that the government contractor have complied
        with all relevant federal requirements, decisions ad-
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        dressing the defense at preliminary stages of a case of-
        ten also will not satisfy the separateness and conclusive-
        ness requirements of the collateral-order doctrine.
           a. Federal contractors do not “share the Govern-
        ment’s unqualified immunity from liability and litiga-
        tion.” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 672
        (2016). As Justice Holmes put it nearly a century ago,
        while the federal government generally “cannot be sued
        for a tort, * * * its immunity does not extend to those
        that acted in its name.” Sloan Shipyards Corp. v. U.S.
        Shipping Bd. Emergency Fleet Corp., 258 U.S. 549, 568
        (1922); see Brady v. Roosevelt S.S. Co., 317 U.S. 575, 583
        (1943) (“Immunity from suit * * * cannot be * * * ob-
        tained” through “a contract between [the defendant]
        and the [government].”).
           “Derivative sovereign immunity” is therefore a mis-
        nomer. The defense known by that name is not a deriv-
        ative form of the government’s own immunity, because
        this Court has stated unambiguously that contractors
        cannot assert a right to that immunity in U.S. courts. 1
        Rather, the doctrine known as “derivative sovereign im-
        munity” reflects the principle this Court articulated in
        Yearsley v. W. A. Ross Construction Co., 309 U.S. 18
        (1940): A contractor cannot be held liable for exercising
        authority “validly conferred” by the government. Id. at
        20-21. A contractor may be held liable, by contrast,
        where it “exceeded [the] authority” conferred by the
        government or where the authority “was not validly
        conferred.” Id. at 21; see Campbell-Ewald, 136 S. Ct.
        at 672 (“When a contractor violates both federal law and

         1
            The question of whether the government can argue that a con-
        tractor should be sheltered by its sovereign immunity in an adjudi-
        cation in a foreign or international court or tribunal pursuant to ap-
        plicable foreign or international law is not presented in this case.
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        the Government’s explicit instructions, * * * no ‘deriva-
        tive immunity’ shields the contractor from suit by per-
        sons adversely affected by the violation.”). 2
           The doctrine discussed in Campbell-Ewald and
        Yearsley accordingly resembles the common-law rule
        that a principal may delegate to agents its “privilege” to
        take certain actions that would be unlawful if committed
        by others. See, e.g., Restatement (Second) of Agency
        § 217 cmt. a, at 469 (1958) (“A privilege may result from
        the consent of another” or “may be created by the law
        irrespective of consent,” and “[m]ost of these privileges
        are delegable.”); see also id. § 217 cmt. b, at 470 (“Im-
        munities, unlike privileges, are not delegable and are
        available as a defense only to persons who have them.”).
        Thus, for example, a sheriff has “the privilege * * * to
        arrest” and interrogate people whom he or she has
        probable cause to believe have committed crimes, even
        though such arrests and interrogations generally would
        be unlawful if undertaken by a private party. Id. § 217
        cmt. a, at 469. And “the sheriff can procure assistance
        in” exercising that privilege from others, who then like-
        wise act lawfully when they help to detain or interrogate
        a criminal suspect. Ibid. But if the agent exceeds the
        scope of the privilege delegated by the principal—or if
        the principal never had the asserted privilege to begin
        with—then the agent’s conduct may give rise to liabil-
        ity. See id. § 343 cmt. c, at 105.

         2
            Some persons who perform services for the government may
        also be entitled to qualified immunity for wrongs they commit while
        performing those services, in circumstances where they are not al-
        leged to have violated clearly established law. E.g., Filarsky v. De-
        lia, 566 U.S. 377, 393-394 (2012). The petition for a writ of certiorari
        in this case, however, does not contend that petitioner is entitled to
        qualified immunity.
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            This understanding of “derivative sovereign immun-
        ity” sharply distinguishes it from actual immunities, in-
        cluding the federal government’s sovereign immunity.
        The critical feature of “an immunity” is that it “frees
        one who enjoys it from a lawsuit whether or not he acted
        wrongly.” Richardson v. McKnight, 521 U.S. 399, 403
        (1997). Where the government has not waived it, for ex-
        ample, sovereign immunity serves as “an impregnable
        legal citadel where government * * * may operate un-
        disturbed by the demands of litigants.” United States
        v. Shaw, 309 U.S. 495, 501 (1940). Similarly, “the es-
        sence of absolute immunity is its possessor’s entitle-
        ment not to have to answer for his conduct in a civil
        damages action.” Mitchell, 472 U.S. at 525. And under
        the doctrine of qualified immunity, even where “the
        plaintiff ’s claim * * * in fact has merit,” a government
        official is entitled to have the suit dismissed unless the
        official’s unlawful conduct violated a “ ‘clearly estab-
        lished’ ” right. Camreta v. Greene, 563 U.S. 692, 705
        (2011) (citation omitted). By contrast, when a govern-
        ment contractor acting as an agent of the government
        exercises a validly delegated privilege, the contractor is
        not immune from suit for unlawful conduct; rather, the
        contractor is protected from liability only to the
        extent—and only because—it is acting lawfully. See
        Campbell-Ewald, 136 S. Ct. at 672 (holding that “[w]hen
        a contractor violates both federal law and the Govern-
        ment’s explicit instructions * * * , no ‘derivative im-
        munity’ shields the contractor from suit”).
            b. Because “derivative sovereign immunity” is
        properly understood as a defense to liability on the
        ground that the defendant acted lawfully, rather than
        as a broader immunity from suit, pre-trial orders reject-
        ing claims of so-called derivative sovereign immunity
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        are not “effectively unreviewable on appeal from a final
        judgment.” Will, 546 U.S. at 349 (citation omitted).
           In assessing whether a threshold ruling would be ef-
        fectively unreviewable without an interlocutory appeal,
        this Court has explained that “the decisive considera-
        tion is whether delaying review until the entry of final
        judgment ‘would imperil a substantial public interest’ or
        ‘some particular value of a high order.’ ” Mohawk In-
        dus., 558 U.S. at 107 (quoting Will, 546 U.S. at 352-353).
        For example, the “ultimate justification” for “applica-
        tion of the collateral order doctrine” to orders rejecting
        Eleventh Amendment immunity is the need to avoid
        wrongfully “ ‘subjecting a State to the coercive process of
        judicial tribunals at the instance of private parties’ ”—a
        “dignitary interest[] ” that cannot “be fully vindicated”
        on appeal if the trial has already occurred. Puerto Rico
        Aqueduct & Sewer Auth., 506 U.S. at 146 (quoting In re
        Ayers, 123 U.S. 443, 505 (1887)).
           Orders denying government contractors’ assertions
        of “derivative sovereign immunity” in U.S. courts do
        not, as a category, implicate that sort of substantial, ef-
        fectively irreparable interest. See Van Cauwenberghe,
        486 U.S. at 529 (observing that the collateral-order doc-
        trine “look[s] to categories of cases, not to particular in-
        justices”). Even if an erroneous denial leads to an un-
        warranted award of damages against a government con-
        tractor, that award—like any “erroneous ruling on
        liability”—“may be reviewed effectively on appeal from
        final judgment.” Swint v. Chambers Cnty. Comm’n, 514
        U.S. 35, 43 (1995). To be sure, requiring government
        contractors to wait until final judgment to appeal may
        force those contractors to incur “unnecessary trouble
        and expense” litigating a case that should have been dis-
        missed. Lauro Lines s.r.l. v. Chasser, 490 U.S. 495, 499
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        (1989). This Court, however, has “declined to find the
        costs associated with unnecessary litigation to be
        enough to warrant allowing the immediate appeal of a
        pretrial order.” Ibid.
            CACI argues that the interests “that justify immedi-
        ate appeals of denials of absolute and qualified
        immunity—‘distraction of officials from their govern-
        mental duties, inhibition of discretionary action, and de-
        terrence of able people from public service’—are of
        equally high value in the context of government con-
        tractors.” Reply Br. 10 (citation omitted). Any con-
        cerns about government contractors being unwilling to
        do business with the government, however, are miti-
        gated by the potential ability of government contractors
        to price litigation risks into their contracts. Cf. Rich-
        ardson, 521 U.S. at 409 (“[T]he most important special
        government immunity-producing concern—unwarranted
        timidity—is less likely present, or at least is not special,
        when a private company subject to competitive market
        pressures operates a prison.”). Nor do suits in U.S.
        courts against government contractors implicate the
        “dignitary interests” that arise when a sovereign gov-
        ernment is “ ‘subject[ed] * * * to the coercive process
        of judicial tribunals at the instance of private parties.’ ”
        Puerto Rico Aqueduct & Sewer Auth., 506 U.S. at 146
        (quoting In re Ayers, 123 U.S. at 505). Accordingly,
        suits against government contractors do not, as a class,
        present the same level or type of concern that this Court
        has previously identified as sufficient to warrant imme-
        diate appeal under the collateral-order doctrine. 3


         3
           Because government contractors lack sovereign dignitary inter-
        ests, and because the government’s own immunity from suit in U.S.
        courts is not delegated to government contractors, see pp. 9-11, su-
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           c. Orders rejecting a Yearsley-based defense also
        generally do not “resolve an important issue completely
        separate from the merits of the action,” Will, 546 U.S.
        at 349 (citation omitted). To the contrary, the question
        whether a defendant is entitled to “derivative sovereign
        immunity” is often coterminous with the merits of the
        action. That is because such a defense applies only
        where and to the extent that the defendant acted
        lawfully—not, as with the sorts of true immunities dis-
        cussed above, even where the defendant acted unlaw-
        fully. See pp. 9-11, supra.
           CACI’s assertion of the defense here illustrates the
        point. CACI could not demonstrate entitlement to the
        defense without proving that it acted within the scope
        of a lawful delegation from the government. Campbell-
        Ewald, 136 S. Ct. at 672. But respondents’ claims them-
        selves rest on the premise that CACI “violate[d] both
        federal law and the Government’s explicit instructions.”
        Ibid.; see, e.g., D. Ct. Doc. 254, at 41 (Apr. 4, 2013) (al-
        leging that CACI “directly contradicted” domestic law
        as well as the “express terms” of its contract with the
        United States). Thus, if respondents were to prove the
        merits of their liability claims, then CACI would not be
        entitled to “derivative sovereign immunity”—and if
        CACI were to show its defense was valid, then respond-
        ents would necessarily fail to prove the merits.
           d. Finally, in some cases, orders rejecting pre-trial
        assertions of the defense will not “conclusively deter-
        mine the disputed question.” Will, 546 U.S. at 349 (ci-
        tation omitted). In particular, where such an order is

        pra, this case would not be an appropriate vehicle in which to ad-
        dress whether the federal government has a right to immediately
        appeal orders denying motions to dismiss on the ground of federal
        sovereign immunity. See Pet. 15-17.
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        based on the existence of factual disputes that are ma-
        terial to the “derivative sovereign immunity” defense,
        the order will generally just defer final resolution of the
        defense until trial.
           To be sure, the order here did not come within the
        category of orders that defer resolution of a “derivative
        sovereign immunity” defense until disputed facts have
        been determined at trial. Instead, the district court
        rested its denial of that defense on its purely legal de-
        termination that the United States had impliedly
        waived its sovereign immunity to suit for alleged viola-
        tions of jus cogens norms. See pp. 3-4, supra; Pet.
        App. 340a. That determination was clearly wrong, but
        there is no reason to think it was—for the district
        court’s purposes—anything other than “conclusive[].”
        Will, 546 U.S. at 349. There were no disputed facts
        that were materially relevant to the court’s sovereign-
        immunity decision and that could be informed by an
        eventual trial; instead, the decision reflected the court’s
        incorrect view that the United States can “impliedly
        waive[]” its sovereign immunity through conduct such
        as “joining the community of nations.” Pet. App. 317a;
        but see, e.g., United States v. Mitchell, 445 U.S. 535, 538
        (1980) (“A waiver of sovereign immunity ‘cannot be im-
        plied but must be unequivocally expressed.’ ”) (citation
        omitted). Accordingly, if orders denying the pre-trial
        assertion of a “derivative sovereign immunity” defense
        satisfied the other two requirements of the collateral-
        order doctrine, the order here likely would have been
        immediately appealable. But because such orders,
        viewed as a category, are not effectively unreviewable
        on appeal after final judgment and do not address an
        issue completely separate from the merits, see pp. 11-
        14, supra, the court of appeals correctly determined
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        that CACI could not appeal under the collateral-order
        doctrine.
            3. Although orders denying “derivative sovereign
        immunity” do not satisfy the requirements of the
        collateral-order doctrine, litigation against government
        contractors, especially in the military context, often
        raises serious concerns that warrant early appellate re-
        view by other mechanisms. This suit, for example, pro-
        duced significant discovery burdens for the govern-
        ment, including the need for the Secretary of Defense
        to invoke the state-secrets privilege (with the personal
        approval of the Attorney General) on multiple occa-
        sions. See D. Ct. Docs. 775-1 (Apr. 27, 2018), 876-1 (July
        20, 2018), and 992-1 (Nov. 16, 2018). Any trial in the
        case would raise additional concerns, including that of
        preserving the anonymity of many potential witnesses
        (whose identities are classified state secrets). As the
        Fifth Circuit has observed in a related context, such
        concerns make it important for district courts to “freely
        certify[] orders denying” dispositive motions for inter-
        locutory appeal under 28 U.S.C. 1292(b) “where the law
        is unsettled but, after refinement on appeal, might war-
        rant dismissing plaintiffs’ claims.” Martin v. Hallibur-
        ton, 618 F.3d 476, 488 (2010).
           B. The Question Presented Warrants This Court’s Review
            Although the court of appeals reached the correct re-
        sult, this Court’s review is warranted to address tension
        in the lower courts’ precedent regarding the appealabil-
        ity of orders denying certain defenses raised by govern-
        ment contractors and disagreement about the nature of
        the “derivative sovereign immunity” defense in partic-
        ular.
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            1. As petitioner argues (Pet. 13-15), this case impli-
        cates tension in the courts of appeals over the appeala-
        bility of orders denying motions by government con-
        tractors that seek to assert government defenses or im-
        munities derivatively.
            a. The Fifth Circuit has twice held that defendants
        have no right to an immediate collateral-order appeal
        from the denial of a motion to dismiss based on a “de-
        rivative sovereign immunity” defense. See Martin, 618
        F.3d at 484-485; Houston Cmty. Hosp. v. Blue Cross &
        Blue Shield of Tex., Inc., 481 F.3d 265, 276-281 (2007).
        And the decision below reiterated the Fourth Circuit’s
        prior suggestion that collateral-order appeals may be
        categorically unavailable in this context. See Pet. App.
        4a (highlighting the “reasoning of a prior en banc deci-
        sion in which we dismissed CACI’s interlocutory appeal
        from the district court’s denial of similar defenses,”
        which was “that ‘fully developed rulings’ denying ‘sov-
        ereign immunity (or derivative claims thereof) may not’
        be immediately appealable”) (citation omitted).
            b. In contrast, the Second and Eleventh Circuits
        have held that orders denying similar “derivative sov-
        ereign immunity” defenses are immediately appealable
        under the collateral-order doctrine.
            In McMahon v. Presidential Airways, Inc., 502 F.3d
        1331 (11th Cir. 2007), a government contractor argued
        that under Yearsley, it was entitled to share in the gov-
        ernment’s immunity from suit by service members “for
        injuries that ‘arise out of or are in the course of activity
        incident to [military] service.’ ” Id. at 1341 (quoting
        Feres v. United States, 340 U.S. 135, 146 (1950)) (brack-
        ets in original); see id. at 1343 (“[Defendant] claims that
        it is entitled to claim the whole of the government’s
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        Feres immunity under the theory of derivative sover-
        eign immunity,” which “had its origin in Yearsley.”).
        The Eleventh Circuit held that the district court’s de-
        nial of the contractor’s motion to dismiss was immedi-
        ately appealable under the collateral-order doctrine be-
        cause it implicated a “substantial claim to immunity
        from suit.” Id. at 1339.
           In In re World Trade Center Disaster Site Litiga-
        tion, 521 F.3d 169 (2d Cir. 2008), the Second Circuit con-
        sidered government contractors’ attempt to invoke “de-
        rivatively” the government’s discretionary function im-
        munity under the Robert T. Stafford Disaster Relief
        and Emergency Assistance Act (Stafford Act), Pub. L.
        No. 93-288, 88 Stat. 143, for claims related to disaster
        relief. 521 F.3d at 192. The Second Circuit held that
        the denial of the defendants’ motion to dismiss was ap-
        pealable under the collateral-order doctrine. See id. at
        187-193.
           c. As respondents note (Br. in Opp. 26-27), the im-
        munities at issue in McMahon and In re World Trade
        Center Disaster Site Litigation implicated the Feres
        doctrine and the Stafford Act, neither of which is at is-
        sue here. The cases therefore do not present a perfectly
        square split, and it is possible that courts might con-
        clude that orders denying some forms of “derivative
        sovereign immunity” are immediately appealable while
        other are not. At the very least, however, the cases dis-
        play substantial tension in the lower courts’ approach to
        the appealability of orders denying attempts to invoke
        derivatively, in one form or another, the government’s
        own immunity. That tension is significant enough to
        merit this Court’s review, at least in conjunction with
        the related disagreement among the courts of appeals,
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        discussed below, about the nature of the “derivative
        sovereign immunity” doctrine.
            2. The courts of appeals are divided over whether
        “derivative sovereign immunity” is properly understood
        as “derivatively extending sovereign immunity to a pri-
        vate contractor,” or instead as a more limited defense
        “on the merits.” Adkisson v. Jacobs Eng’g Grp., Inc.,
        790 F.3d 641, 646-647 (6th Cir. 2015) (emphasis added),
        cert. denied, 136 S. Ct. 980 (2016); see ibid. (describing
        split).
            a. The Fourth Circuit has held that “contractors and
        common law agents acting within the scope of their em-
        ployment for the United States have derivative sover-
        eign immunity,” which renders them “immune from
        suit.” Butters v. Vance Int’l, Inc., 225 F.3d 462, 466
        (2000); see In re KBR, Inc., 744 F.3d 326, 344 (4th Cir.
        2014) (holding that Yearsley “render[s] government
        contractors immune from suit when they act within the
        scope of their validly conferred authority”), cert. de-
        nied, 135 S. Ct. 1153 (2015). Indeed, the court of appeals
        relied on that understanding of the doctrine at an ear-
        lier stage of this case, see Pet. App. 122a (referring to
        “the right not to stand trial”), and denied a collateral-
        order appeal here solely on the ground that there are
        disputed factual questions concerning whether CACI
        complied with the law and contracts, pp. 4-5, supra.
            b. The Fifth and Sixth Circuits have “explicitly
        reached the opposite conclusion.” Adkisson, 790 F.3d
        at 646. In Ackerson v. Bean Dredging LLC, 589 F.3d
        196 (5th Cir. 2009), the Fifth Circuit held that a defense
        under Yearsley does not implicate “the court’s power to
        hear the case” or “deny the court of subject-matter ju-
        risdiction.” Id. at 207-208. And in Adkisson, the Sixth
        Circuit “agree[d] with the Fifth Circuit’s conclusion
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        that Yearsley is not jurisdictional in nature,” instead
        presenting “an issue to be reviewed on the merits.” 790
        F.3d at 647. 4
           c. That division of authority is implicated here. As
        explained above, the primary reason that pre-trial or-
        ders denying “derivative sovereign immunity” defenses
        are not immediately appealable is that the defense goes
        only to liability; it does not create a broader right
        against suit. See pp. 9-11, supra. While the court of
        appeals’ most recent decision did not analyze the ques-
        tion in those terms, a decision by this Court addressing
        the immediate appealability issue would likely resolve
        the lower courts’ disagreement over whether “deriva-
        tive sovereign immunity” is truly akin to sovereign
        immunity—and thus can be effectively safeguarded
        only through a pre-trial appeal—or instead a more lim-
        ited defense to liability.
             C. This Case Would Be A Suitable Vehicle In Which To Ad-
                dress The Question Presented If The Case Is Not Effec-
                tively Mooted By Nestlé And Cargill
           This case would be a suitable vehicle in which to ad-
        dress the question presented. In the view of the United
        States, however, it would be advisable to hold the peti-
        tion for a writ of certiorari pending the Court’s disposi-
        tion of Nestlé USA, Inc. v. Doe, cert. granted, No.
        19-416 (July 2, 2020), and Cargill, Inc. v. Doe, cert.


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            The Sixth Circuit in Adkisson suggested that derivative sover-
        eign immunity under Yearsley is “closer in nature to qualified im-
        munity for private individuals” than to a genuine sovereign immun-
        ity. 790 F.3d at 647 (emphasis added). It did not suggest, however,
        that orders denying a contractor’s “derivative sovereign immunity”
        defense would be immediately appealable in the same way as an or-
        der denying qualified immunity to a public official.
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        granted, No. 19-453 (July 2, 2020), which could effec-
        tively moot this case.
            1. The petition for a writ of certiorari presents a
        suitable vehicle for addressing the appealability of or-
        ders denying pre-trial motions to dismiss on the basis of
        “derivative sovereign immunity.” Respondents offer
        several arguments to the contrary, but those arguments
        lack merit.
            a. Respondents argue that regardless of whether
        the collateral-order doctrine generally allows appeals
        from orders rejecting assertions of “derivative sover-
        eign immunity,” the order here was not appealable be-
        cause the district court relied on the existence of dis-
        puted questions of fact as an “alternative basis for de-
        nial of CACI’s entitlement to derivative sovereign im-
        munity.” Br. in Opp. 19. But that is not an accurate de-
        scription of the district court’s decision. Rather, having
        observed that it was not “clear” whether disputed facts
        would preclude assertion of the defense, the court con-
        cluded that it did not need to resolve that issue because,
        “[r]egardless, CACI’s Motion to Dismiss fails because
        the United States does not enjoy sovereign immunity
        for these kinds of claims.” Pet. App. 340a, 341a-342a.
        The order thus rested on a purely legal determination,
        and this Court could resolve the appealability of such
        orders without needing to address whether orders that
        rest on the existence of material disputes of fact might
        require a different rule.
            b. Respondents also argue CACI “ ‘invited’ the error
        it now asks this Court to review,” Br. in Opp. 29 (citation
        omitted), because filing a third-party complaint against
        the United States suggested that the United States had
        waived sovereign immunity. In the particular context
        of this case, however, that charge is misplaced. While
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        CACI’s decision to implead the United States as a third-
        party defendant did put the government’s sovereign im-
        munity at issue, CACI never specifically asked the dis-
        trict court to hold that the United States had waived its
        sovereign immunity to claims based on alleged jus co-
        gens violations. Instead, CACI’s impleader sought to
        ensure that if the district court were to hold that
        CACI’s own assertion of “derivative sovereign immun-
        ity” was foreclosed by a government waiver of immun-
        ity, CACI could then recoup any resulting damages
        from the government. See D. Ct. Doc. 713, at 14 (Mar.
        28, 2018) (“[T]he immunity of CACI PT and the United
        States is coextensive with respect to the claims at issue
        in this case.”). While the government disputed the mer-
        its of CACI’s third-party claims (and was successful in
        having them dismissed), CACI’s conduct with respect to
        the government provides no basis for prohibiting it
        from contesting the district court’s denial of CACI’s de-
        fense.
            2. While the Court could grant the petition for a writ
        of certiorari immediately, the better course would be to
        hold the petition pending this Court’s resolution of
        Nestlé and Cargill. Those cases present, among others,
        the question whether domestic corporations are properly
        subject to claims under the Alien Tort Statute. The gov-
        ernment has argued that they are not. See, e.g., Gov’t
        Br. at 8-12, Cargill, Inc. v. Doe, No. 19-453 (May 26,
        2020). If this Court adopts that view in Nestlé or Car-
        gill, its decision would decisively foreclose respondents’
        underlying claims here—all of which seek to impose
        corporate liability under the Alien Tort Statute. See
        Pet. 4-5. Any decision here would at that point have no
        real-world significance in this case.
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           In order to avoid that scenario, the Court should hold
        the petition for a writ of certiorari until it has decided
        Nestlé and Cargill. If the Court’s resolution of those
        cases forecloses respondents’ underlying claims, the
        Court could at that point deny the petition. If respond-
        ents’ claims remain viable, however, the Court should
        grant the petition.
                             CONCLUSION
           The petition for a writ of certiorari should be held
        pending the Court’s disposition of Nestlé and Cargill,
        and granted if those cases do not effectively foreclose
        respondents’ underlying claims.
           Respectfully submitted.
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